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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------x
CIAS, INC.,

                       Plaintiff,

               -against-                                                       03 Civ. 3064 (LAK)

ALLIANCE GAMING CORPORATION and
BALLY GAMING, INC.,

                Defendants.
----------------------------------x


                                    MEMORANDUM OPINION


               Appearances:

                                      Robert C. Morgan
                                      A. Peter Adler
                                      ROPES & GRAY
                                      Attorneys for Plaintiff

                                      Kenneth G. Roberts
                                      Charles M. Hart
                                      WOLF, BLOCK, SCHORR AND SOLIS-COHEN LLP
                                      Attorneys for Defendants


LEWIS A. KAPLAN , District Judge.

               This patent infringement case involves a patent on a system for detecting counterfeit

items that is used in tickets used for playing cashless slot machines in casinos, among other things.

The matter is before the Court on defendant’s motion for summary judgment dismissing the

complaint on the ground that its accused systems do not infringe plaintiff’s patent.
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                                             I.     Facts



A.     The Parties

               Plaintiff CIAS, Inc. (“CIAS”) owns U.S. Patent No. 5,283,422 (the “‘422 patent”),

which teaches a system of counterfeit detection.1

               Defendants are Alliance Gaming Corporation and its subsidiary, Bally Gaming, Inc.

(collectively, “Alliance”).2 It is a “leading manufacturer of systems and machines used in the gaming

industry.”3 Among other things, it manufactures and sells two systems that manage all aspects of

a casino’s slot machines, including accounting and management functions.4




       1

               See Joint Pre-Trial Order, Stipulated Facts (“JPTO”) ¶¶ 1, 7.
       2

               See id. ¶¶ 2, 3.
       3

               Alliance’s Local Rule 56.1 Statement of Material Facts (“Alliance 56.1”) ¶ 8.
       4

               See id. ¶ 9; CIAS’s Local Rule 56.1 Statement of Material Facts (“CIAS 56.1”) ¶ 8.
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B.     The ‘422 Patent

               After overcoming several rejections based on the cited prior art,5 the ‘422 patent

issued on February 1, 1994.6 In connection with infringement litigation unrelated to this case, CIAS

requested re-examination on March 30, 1999.7 A re-examination certificate was issued on October

17, 2000, confirming patentability after amendment of Claim 1 by combining it with the original

Claim 8.8

               The parties dispute vigorously the scope and meaning of the ‘422 patent’s claims, as

addressed below. It is undisputed, however, that the ‘422 patent describes a counterfeit detection


       5

               See Roberts Decl., Ex. F (“‘422 File History”), Tabs 7-10. In particular, the inventors
               addressed U.S. Patent No. 4,463,250 (“McNeight”) as not recognizing that

                       “a counterfeit detection system may utilize information coded according to a
                       detectable series, such as sequential serial numbers. McNeight [] discloses a
                       method for detecting counterfeits in which articles . . . are coded in accordance
                       with a secret algorithm, and in which counterfeits are detected by detecting codes
                       which do not conform to the algorithm . . . McNeight [] is premised on the use of
                       a secret algorithm . . . and does not recognize that a counterfeit detection system
                       could use sequential serial numbers. . . . McNeight’s authorized numbers conform
                       to a secret algorithm and are different from a detectable series such as sequential
                       serial numbers.”

               Id. at Tab 8 (emphasis in original). The inventors described McNeight further as teaching
               a system under which its “authorized numbers conform to a secret algorithm and are
               different from randomly selected information. There is no suggestion in McNeight [] to
               utilize randomly-selected authorized information.” Id. (emphasis in original).
       6

               See JPTO ¶ 5.
       7

               See id. ¶ 6; CIAS 56.1 ¶ 28.
       8

               See JPTO ¶ 6; CIAS 56.1 ¶ 29. During re-examination, the inventors’ stated reason for
               distinguishing U.S. Patent No. 3,833,795 (“Shoshani”) was that Shoshani “teaches the use
               of a pair of numbers, and not either serial numbers alone or randomly-selected numbers
               alone.” Roberts Decl., Ex. K (“Request for Re-Examination”) at 4.
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                                                                                                       4

system.9 The system detects counterfeits by assigning identifying information to a finite number of

objects and storing that information.10 When an object later is presented for authentication, the

system compares the object’s identifying information to the stored data.11 If the identifying

information either does not appear in the stored data or previously has been presented for

authentication, the system determines that the object is counterfeit.12

               Claim 1 of the ‘422 patent reads in full:

               “A counterfeit detection system for identifying a counterfeit object from a set of
               similar authentic objects, each object in said set having unique authorized
               information associated therewith comprised of machine-readable code elements
               coded according to a detectable series, the system comprising:

               means at a first facility for storing said authorized information;

               means at a plurality of facilities other than said first facility for machine-reading code
               elements from a similar object and providing information related to the machine-read
               code elements;

               means coupled to receive said information related to said code elements machine-
               read from aid object for at least temporarily storing that information; and

               means at said first facility for detecting counterfeits coupled to said storing means
               and to said means for temporarily storing, said detecting means including a computer
               programmed to detect a counterfeit from information in said storing means at said
               first facility and from information received by said means for temporarily storing




       9

               See generally Roberts Decl., Ex. B (“‘422 Patent”).
       10

               See id.
       11

               See id.
       12

               See id.
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                                                                                                      5

              when information related to code elements machine read from a similar object is
              different from said authorized information.”13

Claims 2 through 10 are dependent on Claim 1 and describe various permutations of the system.14

Claims 11 and 12 describe systems similar to that set out in Claim 1, but with different means of

collecting and comparing the unique authorized information.15 Claims 13 and 14 describe similar

systems, but the information associated with each object is “unique randomly selected authorized

information [] comprised of machine-readable code elements.”16 Finally, Claims 15 and 16 describe

a method for designating objects as authorized objects by

              “randomly selecting m sets of unique authorized information from n sets of unique
              information, said n sets of unique information being a non-random series and m
              being substantially less than n, such that no given set of said m sets of unique
              authorized information is deducible from all or part of the remaining of said m sets
              of authorized information, n and m being integers and n being greater than one;
              storing said m sets of authorized information; and applying said m sets of authorized
              information to respective authorized objects in a machine readable form.”17




       13

              Id. at 49:41-66.
       14

              See id. at 49:67-50:33.
       15

              See id. at 50:34-51:14.
       16

              Id. at 51:17-19, 52:1-3.
       17

              Id. at 52:25-39. Claim 16 describes the “method according to claim 15 wherein said n sets
              of unique information are a detectable series.” Id. at 52:40-41. CIAS does not allege that
              Alliance’s systems infringe Claims 15 or 16.
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C.      Alliance’s Systems

                   Alliance offers two products, called the Slot Data System (“SDS”) and the

Slot Management System (“SMS”),18 that manage “all aspects of a casino’s slot machines, including

accounting and management functions.”19 They allow players to use “cashless” slot machines by

inserting and retrieving electronically-generated tickets redeemable for cash.20 These paper tickets,

called eTickets,21 are the size of a dollar bill and imprinted with an 18-digit identification number,

which appears both numerically and in a standard bar code format.22 Slot machines read eTickets

with “bill validators,” equipment that includes standard bar code readers.23

                   While the SDS and SMS systems each produce an 18-digit identification number for

every eTicket, they do so in different manners. The SDS system produces a number comprised of

five subparts:24

                   Ticket Type               1 digit identifying whether the eTicket was
                                             printed at a slot machine or casino cashier
                                             station.


        18

                   See Alliance 56.1 ¶ 10; CIAS 56.1 ¶ 10.
        19

                   Alliance 56.1 ¶ 9; CIAS 56.1 ¶ 9.
        20

                   See Alliance 56.1 ¶¶ 9, 10; CIAS 56.1 ¶¶ 9, 10.
        21

                   See Alliance 56.1 ¶ 11; CIAS 56.1 ¶ 11.
        22

                   See Alliance 56.1 ¶ 14; CIAS 56.1 ¶ 14.
        23

                   See Alliance 56.1 ¶¶ 14, 17; CIAS 56.1 ¶¶ 14, 17.
        24

                   See Alliance 56.1 ¶ 20; CIAS 56.1 ¶ 20.
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                                                                                                           7

                Property Identifier        3 digits, identifying the casino.
                Machine Number             5 digits, identifying the machine or cashier
                                           station that printed the eTicket.
                Ticket Number              5 digit serial number for the individual
                                           eTicket, ranging from 00001 to 99999.
                Unique Ticket              4 digits, generated by a secret algorithm
                Identifier                 using the preceding numbers.


In contrast, an 18-digit identification number produced by the SMS system25 is comprised of five

digits that identify the machine issuing the eTicket and thirteen digits that are generated by a secret

algorithm, that operates on a machine identification number, casino identification number, the date,

and the time as its input data.26

                CIAS contends that the SDS system infringes Claims 1 (as amended), 3, 5-7, and 9-12

and that the SMS system infringes Claims 13 and 14.



                                          II.     The Standard

                Summary judgment is appropriate if there is no genuine issue of material fact and the

moving party is entitled to judgment as a matter of law.27 The moving party has the burden of

demonstrating the absence of a genuine issue of material fact,28 and the Court must view the facts

        25

                The SMS system is known also as the ACSC system. JPTO ¶ 8.
        26

                See Alliance 56.1 ¶ 23; CIAS 56.1 ¶ 23.
        27

                See FED . R. CIV . P. 56(c); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986); White
                v. ABCO Eng’g Corp., 221 F.3d 293, 300 (2d Cir. 2000).
        28

                See Adickes v. S.H. Kress & Co., 398 U.S. 144, 157 (1970).
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in the light most favorable to the nonmoving party.29 Where the burden of proof at trial would fall

on the nonmoving party, it ordinarily is sufficient for the movant to point to a lack of evidence on

an essential element of the nonmovant’s claim.30 In that event, the nonmoving party must come

forward with admissible evidence31 sufficient to raise a genuine issue of fact for trial or suffer an

adverse judgment.32

               When a party moves for summary judgment of non-infringement, the court first

determines the meaning and scope of the claims as a matter of law and then compares the construed

claims to the allegedly infringing product.33 A court may, but need not, conduct a Markman hearing

to determine the scope of the claims.34




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               See United States v. Diebold, Inc., 369 U.S. 654, 655 (1962); Hetchkop v. Woodlawn at
               Grassmere, Inc., 116 F.3d 28, 33 (2d Cir. 1997).
       30

               See Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986); Virgin Atl. Airways Ltd. v.
               British Airways Plc, 257 F.3d 256, 273 (2d Cir. 2001).
       31

               See, e.g., Nora Beverages, Inc. v. Perrier Group of Am., Inc., 269 F.3d 114, 123-24 (2d Cir.
               2001).
       32

               See, e.g., Nebraska v. Wyoming, 507 U.S. 584, 590 (1993); Goenaga v. March of Dimes
               Birth Defects Found., 51 F.3d 14, 18 (2d Cir. 1995).
       33

               See, e.g., Markman v. Westview Instruments, Inc., 52 F.3d 967, 976 (Fed. Cir. 1995), aff’d,
               517 U.S. 370, 376 (1996).
       34

               See, e.g., EMI Group North America, Inc. v. Intel Corp., 157 F.3d 887, 891 (Fed. Cir.
               1998); cf. Keen, Inc. v. InfoRocket.com, No. 01 Civ. 8226 (LAP), 2002 WL 1732359 (July
               26, 2002).
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                                     III.     Claim Construction

A.     Applicable Law

               “It is a ‘bedrock principle’ of patent law that ‘the claims of a patent define the

invention to which the patentee is entitled the right to exclude.’”35 Claim terms in a patent normally

have their ordinary and customary meanings as understood by those skilled in the relevant art at the

time of invention.36 The understanding of a claim term by one of ordinary skill in the art “provides

an objective baseline from which to begin claim interpretation.”37

               The construction inquiry does not take place in a vacuum, as the reading is deemed

to take place “not only in the context of the particular claim in which the disputed term appears, but

in the context of the entire patent, including the specification.”38 Although in some instances the

meaning of claim language as understood by a person of ordinary skill in the art may be readily

apparent to lay courts, in other cases the analysis may not be as straightforward, as when a patentee

uses a term idiosyncratically.39 In such instances, the court looks to “those sources available to the

public that show what a person of skill in the art would have understood disputed claim language




       35

               Phillips v. AWH Corp., 415 F.3d 1303, 1312 (Fed. Cir. 2005) (en banc) (internal citations
               omitted).
       36

               Id. at 1313; see also, e.g., CCS Fitness, Inc. v. Brunswick Corp., 288 F.3d 1359, 1366 (Fed.
               Cir. 2002).
       37

               Phillips, 415 F.3d at 1313.
       38

               Id.
       39

               Id. at 1314.
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to mean.”40 Those sources include “the words of the claims themselves, the remainder of the

specification, the prosecution history, and extrinsic evidence concerning relevant scientific

principles, the meaning of technical terms, and the state of the art.”41

                Of these sources, the Federal Circuit and its predecessors have “long emphasized the

importance of the specification in claim construction.”42 Because the specification’s statutory role

is to describe the claimed invention in “full, clear, concise, and exact terms,”43 it is “the single best

guide to the meaning of a disputed term,” always highly relevant, and “[u]sually [] dispositive.”44

Thus, if a specification reveals a particular definition given to a claim term that differs from its usual

meaning, the inventor’s definition controls.45 Similarly, if a specification includes “an intentional

disclaimer, or disavowal, of claim scope,” that too is dispositive.46

                Another intrinsic source that a court should consider is the patent’s prosecution

history, which is the “complete record of the proceedings before the PTO and includes the prior art


        40

                Innova/Pure Water, Inc. v. Safari Water Filtration Sys., Inc., 381 F.3d 1111, 1116 (Fed.
                Cir. 2004).
        41

                Phillips, 415 F.3d at 1314 (quoting Innova, 381 F.3d at 1116).
        42

                Id. at 1315.
        43

                35 U.S.C. § 112.
        44

                Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996).
        45

                Phillips, 415 F.3d at 1315; see also Vitronics, 90 F.3d at 1582 (the specification “acts as
                a dictionary when it expressly defines terms used in the claims or when it defines terms by
                implication.”).
        46

                Phillips, 415 F.3d at 1316.
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cited during the examination of the patent.”47 The prosecution history can be helpful evidence of

how the PTO and the inventor understood the patent.48 On the other hand, because the prosecution

history reflects negotiations between the PTO and inventor, it may lack the specification’s clarity and

therefore be less useful for claim construction.49 All the same, it “can often inform the meaning of

the claim language by demonstrating how the inventor understood the invention and whether the

inventor limited the invention in the course of prosecution, making the claim scope narrower than

it would otherwise be.”50

               Although intrinsic evidence is primary in claim construction, a court may rely also

upon extrinsic evidence to “shed useful light on the relevant art.”51 This includes expert and inventor

testimony, dictionaries, and treatises.52 Expert testimony can be useful in a variety of circumstances,

such as

               “to provide background on the technology at issue, to explain how an invention
               works, to ensure that the court’s understanding of the technical aspects of the patent
               is consistent with that of a person of skill in the art, or to establish that a particular



          47

               Id. at 1317.
          48

               See id.; see also, e.g., Lemelson v. Gen. Mills, Inc., 968 F.2d 1202, 1206 (Fed. Cir. 1992).
          49

               See Phillips, 415 F.3d at 1317; see also, e.g., Inverness Med. Switz. GmbH v. Warner
               Lambert Co., 309 F.3d 1373, 1380-82 (Fed. Cir. 2002).
          50

               Phillips, 415 F.3d at 1317.
          51

               C.R. Bard, Inc. v. U.S. Surgical Corp., 388 F.3d 858, 862 (Fed. Cir. 2004) (internal
               citations omitted).
          52

               See Phillips, 415 F.3d at 1317-18.
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                                                                                                       12

                term in the patent or the prior art has a particular meaning in the pertinent field.”53

A court should take care not to rely overmuch on extrinsic evidence, as by its nature it has less of

a connection to the specific patent at issue than does intrinsic evidence.54 Moreover, extrinsic

evidence typically is assembled in litigation, when a party can be expected to select evidence that

best supports its case and “leav[e] the court with the considerable task of filtering the useful extrinsic

evidence from the fluff.”55 Accordingly, a court may consider extrinsic evidence in claim

construction, but should keep its potential flaws in mind and measure it against the yardstick of the

intrinsic evidence.56

                Finally, as the Federal Circuit recently noted, “there is no magic formula or catechism

for conducting claim construction.”57 The touchstone is how a person of ordinary skill in the art

would understand the claim terms, but a court is not constrained to follow a precise choreographed

sequence in conducting its analysis.58




        53

                Id. at 1318.
        54

                See id.
        55

                Id.
        56

                Id. at 1319.
        57

                Id. at 1324.
        58

                See id.
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B.      The Terms of the ‘422 Patent

                To resolve Alliance’s motion for summary judgment, it is necessary to construe the

terms “unique authorized information,” “machine-readable code elements,” “detectable series,” and

“randomly selected” as used in the ‘422 patent.



        1.      Unique Authorized Information

                Claims 1-12, 15 and 16 all refer to “unique authorized information” associated with

individual objects.59 As CIAS concedes,60 neither the claims nor the specification define the term

explicitly.61

                CIAS argues that there was no need to define the term, as “unique authorized

information” was “intended to and does carry its common and ordinary meaning. The information

associated with each object is unique to that object, and it is information that has been authorized

by the system.”62 In other words, “unique authorized information” incorporates any data so

designated by the counterfeit detection system – even “a picture of Mickey Mouse with a

moustache.”63


        59

                See ‘422 Patent at 49:41-51:14, 52:25-41. Claims 13 and 14 refer to “unique randomly
                selected information.” See id. at 51:15-52:24.
        60

                See CIAS Mem. at 14.
        61

                See generally ‘422 Patent.
        62

                CIAS Mem. at 14.
        63

                Tr., Oct. 15, 2004, 19:10-11.
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                                                                                                    14

               Alliance makes two arguments in favor of a more limited definition. It first contends

that the specification requires that the term be construed as referring “merely to a small ‘authorized’

subset of a larger set of ‘valid’ numbers.”64 As a matter of logic, the “unique authorized

information” selected by the system for a given set of objects will be a subset of all possible

information that could be so selected. There is no support in the specification, however, for the

initial selection of a set of “valid” information from which the “unique authorized information” is

then distilled. Alliance points to one section of the specification that, in describing the particular

embodiment of casino chips, suggests that casinos, as a practical matter, will need to reserve some

coded information for future use.65 This description of the potential pragmatic needs of one

embodiment of the invention, however, cannot be read as a limitation on the claim term itself.66

               Alliance next contends that the inventors disclaimed multi-part information from

inclusion in “unique authorized information” during re-examination of the ‘422 patent. During re-

examination, the inventors cited Shoshani, another counterfeit detection patent, as prior art that had

not been cited during initial prosecution.67 The inventors described Shoshani as “teach[ing] away

from the use of serial numbers alone [because they provide inadequate counterfeit protection].”68

Instead, according to the ‘422 inventors, Shoshani provides objects with

       64

               Alliance Mem. at 13-14.
       65

               See ‘422 Patent at 7:36-55, 15:57-63.
       66

               See Phillips, 415 F.3d at 1323-24.
       67

               See Request for Re-Examination at 4.
       68

               Id.
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                                                                                                   15

               “an associated pair of numbers []. One number of the pair [] is a serially-selected
               identification number [], and the other number of the pair is a randomly-selected
               control number []. A master list of the associated pairs of numbers applied to objects
               is stored in mass memory . . . [When an object’s pair of numbers is scanned, the
               device compares that pair with] pairs of numbers stored in the mass memory, and
               discrepancies are indicated . . . Shoshani [] teaches the use of a pair of numbers, and
               not either serial numbers alone or randomly-selected numbers alone.”69

Alliance argues that by distinguishing Shoshani in this way – by the focus on its use of a pair of

numbers as opposed to a serial number or a random number alone – the ‘422 inventors disclaimed

multi-part information from “unique authorized information.”

               CIAS responds that Shoshani actually is distinguishable as prior art because “it does

not detect when information relating to code elements machine read from a similar object is the same

as information previously read from a similar object.”70 This argument, however, is misplaced, as

the issue is not whether the ‘422 patent should have issued over Shoshani on re-examination, but

rather whether the inventors disclaimed multi-part numbers from their patent. Other possible

differences between the ‘422 patent and Shoshani that were not discussed by the inventors at that

time are therefore of no present moment.

               CIAS argues further that Shoshani does not treat the pair of numbers as a unit, but

as separate numbers: “To check authenticity, it first looks at the serial number. Then it checks the

control number to see if it matches the corresponding control number for that serial number stored




       69

               Id.
       70

               CIAS Mem. at 17.
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                                                                                                      16

in a computer. Accordingly, the two numbers in Shoshani are used separately and not together as

either a detectable series or a random number.”71

                Again, while this may be an accurate description of how Shoshani actually works, the

question here is what the inventors disclaimed during re-examination. The inventors there

characterized Shoshani differently, stating that it “teaches the use of a pair of numbers, and not either

serial numbers alone or randomly-selected numbers alone.”72 They did not state that Shoshani used

the two numbers separately, but instead implied that the patent used them together, as opposed to

“serial numbers alone or randomly-selected numbers alone.”               The inventors requested re-

examination because of their failure to disclose Shoshani as prior art during the initial prosecution,73

and so the context of their description of Shoshani was their interest in distinguishing it from the

‘422 patent. With that framework in mind, the implication of the inventors’ description is that they

understood and claimed the ‘422 patent, in contrast to Shoshani, to use either serial numbers alone

or randomly-selected numbers alone.74

                Despite being secondary to the specification, prosecution history can demonstrate

“how the inventor understood the invention and whether the inventor limited the invention in the




        71

                Id. at 9.
        72

                Request for Re-Examination at 4 (emphasis added).
        73

                See id. at 2-4.
        74

                See Phillips, 415 F.3d at 1317 (“Like the specification, the prosecution history provides
                evidence of how the [] inventor understood the patent. Furthermore . . . the prosecution
                history was created by the patentee in attempting to explain and obtain the patent.”).
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course of prosecution, making the claim scope narrower than it would otherwise be.”75 A

competitor, “reading the prosecution history, would reasonably conclude” that the ‘422 inventors had

restricted their claims to information of a single type and thus had given up multi-type information.76

On the basis of the re-examination statements of the inventors in distinguishing Shoshani, therefore,

the term “unique authorized information” excludes information other than serial information alone

or randomly-selected information alone.

               Against this construction, CIAS argues that the full language of Claim 1 makes

“unique authorized information” open-ended.

               “The ‘422 patent claims ‘unique authorized information . . . comprised of machine
               readable code elements coded according to a detectable series. The claim language
               has no exclusion of multi-part information. To the contrary, use of the word
               “comprised” expressly means that the ‘unique authorized information’ may include
               something in addition to the detectable series.”77

In other words, Claim 1's description of “unique authorized information” includes not just machine

readable elements coded according to a detectable series, but also any additional information that

the system selects. Thus, argues CIAS, multi-part or -type information is included.

               As an initial matter, this argument does not address the re-examination history

detailed above, as the Claim 1 language is original to the initial prosecution and so subject to the

inventors’ disclaimer during re-examination. Accordingly, even if CIAS were correct as to the

language in Claim 1, the conclusion would remain the same.


       75

               Id.
       76

               Haynes Int'l v. Jessop Steel Co., 8 F.3d 1573, 1578 (Fed. Cir. 1993).
       77

               CIAS Mem. at 15-16.
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               Further, despite the Court’s invitation,78 CIAS was unable to locate binding case law

holding that “comprised of” is an open-ended term, rather than a limiting one. Instead, both parties’

searches, as well as the Court’s, indicate that there is no consensus in the Federal Circuit as to the

meaning of this phrase.79 In the absence of such precedent, of any indication in the patent itself as

to the phrase’s meaning, and of any external evidence offered by the parties, the Court adheres to the

ordinary and customary meaning of “comprised of” as a limiting description of composition.80 This

construction preserves the distinction between “comprised of” and “comprising,” the latter of which

in fact is a patent term of art when used in a transitional phrase, meaning “including, but not limited

to.”81

               Accordingly, the Court construes “unique authorized information” to mean

information associated with each object, unique to that object and authorized by the ‘422 patent’s

system, but excluding information other than serial information alone or randomly-selected

information alone.




         78

               See Tr., Oct. 15, 2004, 63:14-65:21.
         79

               E.g., Glaxo Grp. Ltd. v. Apotex, Inc., 376 F.3d 1339, 1343 (Fed. Cir. 2004); Kohus v. Toys
               R Us, Inc., 282 F.3d 1355, 1356 n.2 (Fed. Cir. 2002); Schaefer Fan Co., Inc. v. J&D Mfg.,
               265 F.3d 1282, 1284-85 (Fed. Cir. 2001).
         80

               See, e.g., Apotex, 376 F.3d at 1343 (“Apotex’s spray dried solution creates an amorphous
               ‘co-precipitate’ comprised of 90% CA, 9% sorbitol, and 1% zinc chloride by mass.”).
         81

               See, e.g., Georgia-Pacific Corp. v. United States Gypsum Co., 195 F.3d 1322, 1327-28
               (Fed. Cir. 1999).
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                                                                                                     19

        2.      Machine-Readable Code Elements

                Claims 1-14 describe how the objects are associated by the system with unique

authorized information comprised of “machine-readable code elements.” Alliance contends that the

phrase is limited to directly-encoded binary numbers, while CIAS argues that it refers to any code

that can be separated into parts and automatically obtained from objects.

                The specification defines “machine-readable” as “used in a broad sense and [] meant

to encompass techniques, methods and apparatus for automatically obtaining from objects

information applied thereto or associated therewith.”82 Since the specification here acts explicitly

as a dictionary, its definition of “machine-readable” controls.83

                “Code elements” are also defined in the specification, albeit less concretely, as

“digits, characters, positions, places, pulses, signals, etc.”84 This list of examples is non-exclusive,

which suggests that the phrase is intended to refer broadly to any individual part of a code.

Defendants argue that the specification describes only embodiments that use binary code, but again,

a patent is not limited to one embodiment if its terms, as defined, include a broader scope.85 Here,

the specification describes numerous kinds of code elements, not just binary forms.

                The specification is “the single best guide to the meaning of a disputed term.”86

        82

                ‘422 Patent at 4:49-57.
        83

                See Phillips, 415 F.3d at 1315; see also Vitronics, 90 F.3d at 1582.
        84

                ‘422 Patent at 4:60-61.
        85

                See Phillips, 415 F.3d at 1323-24.
        86

                Vitronics, 90 F.3d at 1582.
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                                                                                                     20

Where, as here, it provides explicit definitions, the Court must follow its direction.87 Accordingly,

the phrase “machine-readable code elements” is construed as individual parts of a code (1) that can

be separated into parts and (2) that can be automatically obtained from objects.



       3.         Detectable Series

                  Claims 1-12 describe each particular object as being associated with unique

authorized information comprised of machine-readable code elements “coded according to a

detectable series.”88 The specification does not define “detectable series” and discusses “series” in

the context of a binary embodiment.89 While the inventors did not define “detectable series”

explicitly during prosecution, they listed“sequential serial numbers” as an example in several

places.90 Further, they contrasted the term with the results of “secret algorithms” and noted that in

McNeight, which uses a secret algorithm as its means of counterfeit detection, “serial numbers are

of no value.”91

                  Against this intrinsic evidence, CIAS offers its expert’s opinion that, to one skilled

in the art, “detectable series” means “information in which a pattern, relationship, or arrangement


       87

                  See id.
       88

                  See ‘422 Patent at 49:41-51:14. Claim 16 describes the designation method of Claim 15
                  “wherein said n sets of unique information are a detectable series.” Id. at 52:40-41.
       89

                  See generally id.
       90

                  E.g., ‘422 File History, Tab 8 at 2, 4, 6, 7.
       91

                  Id. at 5.
     Case 1:03-cv-03064-LAK-GWG Document 64 Filed 03/29/06 Page 21 of 31



                                                                                                    21

may be detected through examination of a practical number of samples in the context in which the

invention is used.”92

                   Alliance objects that the expert’s opinion is unsupported and argues that the phrase

has no meaning in the art.93 Without pointing out what is erroneous about the offered definition, or

what aspects, if any, are contradicted by the patent, it concludes that the term must be limited to the

binary embodiments described in the specification.94 Alliance’s own expert, however, despite

professing confusion, uses the phrase without difficulty as part of his own analysis of the ‘422

patent.95 This demonstrates that to one skilled in the art – a category which Alliance certainly

concedes includes its expert – the phrase has meaning. Moreover, and once again, a patent drawn

to encompass multiple possible embodiments is not limited to a single exemplar from the

specification.96

                   Accordingly, the term “detectable series” is construed to mean “information in which

a pattern, relationship, or arrangement may be detected through examination of a practical number

of samples in the context in which the invention is used.” This definition is consistent with the




        92

                   Cohen Decl. ¶ 14.
        93

                   See Alliance Reply at 5-6.
        94

                   See id.
        95

                   See, e.g., Roberts Decl., Exhibit H (“Wiklof Expert Report”) at 12-13, 23.
        96

                   See Phillips, 415 F.3d at 1323-24.
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                                                                                                    22

inventors’ description in the prosecution history, including the inclusion of “sequential serial

numbers” and the exclusion of the results of “secret algorithms.”97



       4.      Randomly Selected

               The final term requiring construction is “randomly selected,” which appears in Claims

13 and 14.98 Those claims describe each particular object as being associated with unique

“randomly selected” authorized information comprised of machine-readable code elements.99 The

term is thus substituted in Claims 13 and 14 for the term “detectable series” in Claims 1-12.100 The

specification does not define the term.101

               Alliance contends that the term means exactly what it says: selection according to a

random process, without any pattern or predictability whatsoever, as in a generator that selects digits

based on cosmic noise.102 It argues further that the term cannot include pseudo-random selection,

which is apparent randomness that has been generated purposefully, as by a computer algorithm or



       97

               See id. at 1317.
       98

               See ‘422 Patent at 51:15-52:24.
       99

               See id.
       100

               Claim 15 describes a method for designating objects as authorized objects that involves
               “randomly selecting”unique authorized information from a larger set of authorized
               information. See id. at 52:25-39.
       101

               See generally id.
       102

               See Alliance Mem. at 15-19; Alliance Reply at 6-7.
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                                                                                                    23

other program.103 CIAS does not disagree with Alliance’s definition of pseudo-random

or argue that a computer or algorithm can generate anything besides a pseudo-random number. It

contends, however, that a person of ordinary skill in the art understands “randomly selected” to

include information selected by both true and pseudo-random means.104

               Each side has provided expert testimony to support its position, but neither expert

provides additional support, making their assertions less helpful.105 The specification is silent.

Alliance makes the somewhat convoluted argument that because the specification does not teach the

use of an algorithm for information selection – which no party disputes would be a pseudo-random

selection process – “randomly selected” should be construed to refer only to true random selection.106

But Alliance does not argue, nor could it, that the use of an algorithm is the only means of pseudo-

random selection, so that its absence necessitates the exclusion of pseudo-random selection

altogether.

               Each side points to prior art to support its position. Alliance cites to Shoshani, which

explicitly defines “‘random numbers’ [to mean] true random numbers, as well as Pseudo-random

numbers.”107 Alliance argues that Shoshani must have included this definition because the normal

       103

               See id.
       104

               See CIAS Mem. at 22-23. The Court uses the terms “pseudo-random” and “true random”
               for clarity.
       105

               See Roberts Decl., Exhibit M (“Williams Expert Report”) at 1-2; Cohen Decl., Exhibit 1
               (“Cohen Expert Report”) at ¶ 16.
       106

               See Alliance Mem. at 17-18.
       107

               Cohen Decl., Exhibit 2 (“Cohen Reply Report”) at 6.
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meaning of “random” as excluding pseudo-random would otherwise apply. In other words, Shoshani

had to provide its own definition to bring pseudo-random within “random.” In turn, CIAS cites to

U.S. Patent No. 6,048,269 (“Burns”), a slot machine system patent, which discloses use of a “unique

random number” that nonetheless is generated by a computer and therefore pseudo-random.108

               Finally, Alliance argues further that a sibling patent by the same inventors, U.S.

Patent No. 5,367,148 (the “‘148 patent”),109 recognizes that “random” does not include pseudo-

random. A court may look to a sibling patent and the common application for the meaning of shared

terms used in similar contexts.110 Both the ‘148 and ‘422 patents include the term “randomly

selected” in the context of choosing information for counterfeit detection.111

               The ‘148 patent describes a system in which “[e]ach random portion may contain one

or more randomly selected digits. A random number generator may be used which may, e.g.,




       108

               Harms Decl., Exhibit B (“Burns Patent”) at 4:8-13, 6:21-45. CIAS cites also to U.S. Patent
               No. 4,448,419 (“Telnaes”), a gaming machine patent, which uses a “random number
               generator” to select the machine’s stopping position. See generally id., Exhibit N (“Telnaes
               Patent”). It is not clear from the Telnaes claims or specification, however, whether the
               patent relies on a true or pseudo-random number generator, and thus it is also not clear what
               Telnaes meant by “random.” Although Mr. Storch, one of the ‘422 patent inventors, states
               that he is familiar with the “type of slot machines described in” the Telnaes patent and that
               they do not use true random number generators, his professed experience with that genre
               of slot machines (which may very well include slot machines other than those described in
               Telnaes) cannot circumscribe the Telnaes language itself. See Storch Decl. ¶ 15.
       109

               The ‘422 and ‘148 patent derive from a common parent, U.S. Patent No. 4,814,589 (the
               “‘589 patent”, and incorporate the parent’s patent disclosure. See Roberts Decl, Ex. O
               (“‘589 Patent”).
       110

               See, e.g., Intergraph Corp. v. Intel Corp., 89 Fed. Appx. 218, 225-26 (Fed. Cir. 2004).
       111

               See ‘422 Patent at 51:15-52:24; Roberts Decl., Exhibit N (“‘148 Patent”) at 10:45-48.
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randomly select digits based on cosmic noise.”112 The ‘148 specification goes on to state, “[w]ith

the applicants’ random technique, the problems and worries described above for traditional serial

numbers and ID numbers in accord with a secret algorithm are simply avoided.”113 This distinction

between the results of the ‘148 “randomly selected” technique and those of pseudo-random

algorithmic methods indicates that the ‘148 technique is a true random one and, therefore, that the

‘148/’422 inventors used “random” to mean true random.

               Further, during prosecution of the ‘148 patent, the inventors described another patent,

Zoltai, as disclosing a system in which

               “[so-called] random process units at a central and remote location output the same
               code in response to the same unit. The “random” in [Zoltai’s so-called] random
               process units is a misnomer. If both [Zoltai] units are truly random generators, there
               should be an infinitesimal or no chance for them both to output the same number at
               the same time . . . [In fact,] Zoltai [elsewhere] discloses that the patterns are not
               random but ‘predetermined from within the units’ . . . Thus, [Zoltai does] not
               disclose the use of random numbers.”114

Thus, the ‘148 inventors took prior art to task for using the term “random” incorrectly to include

pseudo- or non-random information. This correction further clarifies that when the inventors

themselves used “randomly selected” in the ‘148 patent, they referred to true random selection.




       112

               ‘148 Patent at 10:45-48.
       113

               Id. at 10:63-65.
       114

               Roberts Decl., Exhibit P (“‘148 File History”) at 7.
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                                                                                                         26

                Since the ‘148 and ‘422 patents are siblings, the identical claim language of the

former can be considered in construing the ‘422 patent’s claims.115 Although it is a close question,

the Court concludes that “randomly selected,” as used by the ‘148 and ‘422 inventors, refers to true

and not pseudo-random selection.



                                          IV.     Infringement

                “[W]hoever without authorization makes, uses, offers to sell, or sells any patented

invention, within the United States or imports into the United States any patented invention during

the term of the patent therefor [directly] infringes the patent.”116 To establish direct infringement, a

plaintiff must prove that one or more claims of the patent read on the accused device literally or

under the doctrine of equivalents.117 Literal infringement requires that each and every limitation set

forth in a claim appear in an accused product.118 Under the doctrine of equivalents, however, “[t]he

scope of a patent is not limited to its literal terms but instead embraces all equivalents to the claims

described.”119 It thus permits the patentee to claim “insubstantial alterations that were not captured



        115

                See, e.g., Intergraph, 89 Fed. Appx. at 225-26; Jonsson v. Stanley Works, 903 F.2d 812,
                818 (Fed. Cir. 1990).
        116

                35 U.S.C. § 271(a) (2000).
        117

                See, e.g., Advanced Cardiovascular Sys., Inc. v. Scimed Life Sys., Inc., 261 F.3d 1329, 1336
                (Fed. Cir. 2001).
        118

                See, e.g., Cross Med. Prods., Inc. v. Medtronic Sofamor Danek, Inc., 424 F.3d 1293, 1310
                (Fed. Cir. 2005).
        119

                Festo Corp. v. Shoketsu Kinzoku Kogyo Kabushiki Co., 535 U.S. 722, 732 (2002).
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in drafting the original patent claim” and prevents infringers from pointing to inconsequential

additions to escape literal infringement.120



A.     The SDS System

               CIAS contends that the SDS system infringes Claims 1 (as amended), 3, 5-7, and 9-12

of the ‘422 patent. All of those claims have in common the requirement that the counterfeit

detection system provide for each object to have “unique authorized information associated therewith

comprised of machine-readable code elements coded according to a detectable series.”121

               It is undisputed that Alliance’s SDS system produces for each eTicket an

identification number comprised of five subparts: ticket type, property identifier, machine number,

ticket number, and unique ticket identifier.122 The ticket number is a 5-digit serial number ranging

from 00001 to 99999.123 The unique ticket identifier, in contrast, is a pseudo-random number,

generated by a secret computer algorithm that uses the preceding ticket type, property identifier,

machine, and ticket numbers as its inputs.124

               This composite nature of the SDS eTicket identification number takes it outside the

construed claim term “unique authorized information.”          As construed, “unique authorized

       120

               Id. at 733.
       121

               ‘422 Patent at 49:41-51:14.
       122

               See Alliance 56.1 ¶ 20; CIAS 56.1 ¶ 20.
       123

               See id.
       124

               See id.
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                                                                                                          28

information” excludes information other than serial information alone or randomly-selected

information alone. Here, the SDS eTicket identification number does include a serial number, the

five-digit ticket number, but includes also three non-serial, non-random numbers and the pseudo-

random unique ticket identifier. This combination of data means that the SDS system does not read

literally on the “unique authorized information” element of Claims 1, 3, 5-7, and 9-12, as it does not

use serial information alone, nor randomly-selected information at all. Nor does the doctrine of

equivalents apply, as the ‘422 inventors narrowed this claim during re-examination to exclude

information other than serial information alone or randomly-selected information alone. They cannot

now recover that surrendered subject matter by means of the doctrine of equivalents.125

               Further, and for much the same reason, the SDS system does not use information

“comprised of machine-readable code elements coded according to a detectable series.” As

construed, a detectable series is “information in which a pattern, relationship, or arrangement may

be detected through examination of a practical number of samples in the context in which the

invention is used.” Although an individual SDS eTicket identification number contains a serial

number subpart (the ticket number), it is undisputed that the SDS system does not produce eTickets

with identification numbers from which a pattern may be detected through examination of a practical



       125

               See Festo, 535 U.S. at 733-34 (“The doctrine of equivalents allows the patentee to claim
               those insubstantial alterations that were not captured in drafting the original patent claim
               but which could be created through trivial changes. When, however, the patentee originally
               claimed the subject matter alleged to infringe but then narrowed the claim in response to
               a rejection, he may not argue that the surrendered territory comprised unforeseen subject
               matter that should be deemed equivalent to the literal claims of the issued patent . . .
               Prosecution history estoppel ensures that the doctrine of equivalents remains tied to its
               underlying purpose. Where the original application once embraced the purported equivalent
               but the patentee narrowed his claims to obtain the patent or to protect its validity, the
               patentee cannot assert that he lacked the words to describe the subject matter in question.”).
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number of samples. The final subpart of an SDS eTicket identification number is generated by a

secret algorithm, which produces numbers that appear to be random.126 CIAS concedes that this final

part of an SDS eTicket identification number is not a detectable series.127 Indeed, the ‘422 inventors

distinguished between a detectable series and the results of such an algorithm during prosecution.128

Since part of the SDS eTicket identification number is not a detectable series, the entire numbers also

are not a detectable series, and so the SDS system does not include that element.

               Accordingly, the SDS system does not infringe Claims 1, 3, 5-7, or 9-12 either

literally or under the doctrine of equivalents.



B.     The SMS System

               CIAS contends that the SMS system infringes Claims 13 and 14 of the ‘422 patent,

both of which require the use of “unique randomly selected authorized information” to identify




       126

               See Alliance 56.1 ¶ 25; CIAS 56.1 ¶ 25. Although CIAS states that it disputes Alliance
               56.1 ¶ 25, the disagreement goes to the definition of “random,” not the results of the SDS
               algorithm. See CIAS 56.1 ¶ 25.
       127

               See CIAS Mem. at 29; Tr., Oct. 15, 2004, 62:20-63:1.
       128

               See ‘422 File History, Tab 8 (“a counterfeit detection system may utilize information coded
               according to a detectable series, such as sequential serial numbers. McNeight [] discloses
               a method for detecting counterfeits in which articles . . . are coded in accordance with a
               secret algorithm, and in which counterfeits are detected by detecting codes which do not
               conform to the algorithm . . . McNeight [] is premised on the use of a secret algorithm . .
               . and does not recognize that a counterfeit detection system could use sequential serial
               numbers. . . . McNeight’s authorized numbers conform to a secret algorithm and are
               different from a detectable series such as sequential serial numbers.”) (emphasis in
               original).
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objects.129 “Randomly selected” has been construed to exclude pseudo-random selection and to refer

to true random selection only.

               It is undisputed that the SMS 18-digit eTicket identification number is comprised of

five digits that identify the machine issuing the eTicket and thirteen digits that are generated by a

secret algorithm, which uses a machine identification number, casino identification number, the date,

and the time as its input data.130 It is undisputed also that the SMS secret algorithm, like all

algorithms, generates pseudo-random numbers.131 As the term “randomly selected” from Claims 13

and 14 has been construed to refer to true random selection only, the SMS system thus does not

literally infringe those claims. CIAS argues that the doctrine of equivalents should apply here, as

Alliance has conceded that pseudo-random information presents “the appearance of randomness,”

arguably the crucial deterrence function of a counterfeit detection system.132 Alliance does not

address this argument, but since the SMS system does not infringe Claims 13 and 14 for an

independent reason, it is ultimately an academic point.

               As with the SDS system, the SMS system does not use “unique . . . authorized

information,” as that term has been construed to exclude information other than serial information

alone or randomly-selected information alone. It is undisputed that the SMS 18-digit eTicket


       129

               See ‘422 Patent at 51:15-52:24.
       130

               See Alliance 56.1 ¶ 23; CIAS 56.1 ¶ 23.
       131

               See Alliance 56.1 ¶ 25; CIAS 56.1 ¶ 25. Although CIAS states that it disputes Alliance
               56.1 ¶ 25, the disagreement goes to the definition of “random,” not the results of the SMS
               algorithm. See CIAS 56.1 ¶ 25.
       132

               CIAS Mem. at 33.
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                                                                                                  31

identification number is comprised of five digits that identify the machine issuing the eTicket and

thirteen digits that are generated by a secret algorithm, which uses a machine identification number,

casino identification number, the date, and the time as its input data.133   As with the SDS system,

this multi-type information (part serial, part non-serial) contradicts the “unique . . . authorized

information” element of Claims 13 and 14, as it is neither serial information alone nor randomly-

selected information at all. Again, since the inventors voluntarily narrowed the scope of the patent

during re-examination to exclude information other than serial information alone or randomly-

selected information alone, the doctrine of equivalents does not apply.134

               Accordingly, the SMS system does not infringe Claim 13 or 14 either literally or

under the doctrine of equivalents.

                                         V.      Conclusion

               Alliance’s motion for summary judgment dismissing the complaint is granted. As

this moots defendants’ counterclaim, the action is dismissed in its entirety.

               SO ORDERED.

Dated: March 29, 2006




       133

               See Alliance 56.1 ¶ 23; CIAS 56.1 ¶ 23.
       134

               See Festo, 535 U.S. at 733-34.
